                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

                        Plaintiff,

        v.                                             Case No. 16-CV-1347

CASH DEPOT LTD.,

                        Defendant.


     PLAINTIFF’S AMENDED ANSWERS TO DEFENDANT’S [SECOND SET] OF
        INTERROGATORIES AND REQUEST TO PRODUCE DOCUMENTS


                      GENERAL RESERVATIONS AND OBJECTIONS

        1.      These responses are made on the basis of information presently available and

located by Plaintiff, and Plaintiff reserves the right to modify his responses and/or objections with

such additional information as subsequently may be discovered.

        2.      Plaintiff objects to each of the interrogatories to the extent that they seek

information regarding communications between Plaintiff and his legal counsel on the ground that

such communications are privileged and not subject to discovery. No response is intended to waive

such privilege, including the inadvertent disclosure of any privileged information which resulted

from Plaintiff’s good faith effort to thoroughly respond to these interrogatories in the required

period of time. Further, while Plaintiff has provided information relating to work performed by his

legal counsel in this case, such disclosure is for purposes of providing factual evidence of work

performed. The substance is privileged. Plaintiff reserves the right to recall any privileged

information that was inadvertently disclosed in responding to these Discovery Requests.


                                                                               EXHIBIT 2
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                                     INTERROGATORIES

INTERROGATORY NO. 1:                  With regard to the costs incurred or expended to date on your

behalf for the above-referenced litigation, provide a description of each item of costs, the amount

of such cost, indicate whether the cost has been paid, the amount of the payment, and the person

or entity making the payment. Attached to your answer any document corroborating any aspect of

your answer.

ANSWER:        Plaintiff objects to this Interrogatory as overbroad and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of December 7, 2017, Plaintiff has incurred

$407.04 in costs related to the above-referenced litigation. See Pl 0001-012, attached. Because

litigation of this matter is ongoing, Plaintiff reserves the right to amend this response to reflect

additional costs, as incurred. Further, by answering this Interrogatory, Plaintiff has not and does

not agree to accept reimbursement for costs in the amounts stated herein as a form of settlement

of his claims against Defendant.

INTERROGATORY NO. 2:                  With regard to the attorney’s fees incurred or expended to

date in this litigation, (A) describe the total amount of the fees incurred, the nature of each legal

service and/or activity for which any charged was made for legal services, the amount of time

spent on each such legal service and/or activity, the amount of the charged for such legal service

and/or activity, and state whether payment has been made, and if so, by whom an when; (B) if the

legal charges were based on increments of time, such as an hourly charge describe for each person

providing legal service and/or activity, the amount of the charge, indicate the capacity (i.e.

attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or

activity, describe the qualifications of such person to perform those tasks. Indicate the nature of




                                       2
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the fee agreement between you and your attorneys: this means whether the fee agreement is hourly,

a flat fee, or contingent based on recovery or any other arrangement.

       Attach to your answer, any document corroborating any aspect of your answer.

ANSWER:        Plaintiff objects to this Interrogatory as overbroad, unduly burdensome, not

reasonably calculated to lead to the discovery of admissible evidence, and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of December 7, 2017, Plaintiff has incurred

approximately $39,920.00 in attorneys’ fees related to the above-referenced litigation. See Pl 0001-

012, attached. Because litigation of this matter is ongoing, Plaintiff reserves the right to amend

this response to reflect the additional attorneys’ fees he continues to incur. Further, by answering

this Interrogatory, Plaintiff has not and does not agree to accept reimbursement for his attorneys’

fees in the amount stated herein as a form of settlement of his claims against Defendant.

       Dated this 7th day of December, 2017.

                                              WALCHESKE & LUZI, LLC
                                              Attorneys for Plaintiff



                                              By: s/ James A. Walcheske
                                                  James A. Walcheske, State Bar No. 1065635
                                                  Scott S. Luzi, State Bar No. 1067405
                                                  Kelly L. Temeyer, State Bar No. 1066294

  15850 W. Bluemound Rd., Suite 304
  Brookfield, WI 53005
  Phone: 262-780-1953
  Fax: 262-565-6469
  jwalcheske@walcheskeluzi.com
  sluzi@walcheskeluzi.com
  ktemeyer@walcheskeluzi.com




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                            15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
                                            www.walcheskeluzi.com
Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                          DESCRIPTION                                     RATE              TIME BALANCE
12/13/2016   Postage                                                     Postage                               2.35
11/23/2016   Initial phone conversation with client                      SSL Legal Service...          2     600.00
11/28/2016   Reviewed file documents                                     SSL Legal Service...          1     300.00
11/28/2016   Phone conversation with client re file documents and        SSL Legal Service...          1     300.00
             federal court complaint
11/28/2016   Case law research re class action: commonality              SSL Legal Service...        0.4     120.00
11/28/2016   Case law research: calculating regular rate, OT rate,       SSL Legal Service...        1.5     450.00
             remuneration included in regular rate
11/30/2016   Reviewed file documents and drafted federal court           SSL Legal Service...        3.2     960.00
             complaint
12/2/2016    Reviewed file documents and finished initial draft of       SSL Legal Service...        4.3    1,290.00
             federal court complaint
12/3/2016    Phone conversation with client re federal court complaint   SSL Legal Service...        0.5     150.00
12/3/2016    Revised federal court complaint and emailed to JAW to       SSL Legal Service...        1.2     360.00
             review, finalize, and file
12/5/2016    Drafted Civil Cover Sheet, Summons, NOA, Disclosure         SSL Legal Service...        0.8     240.00
             Statement -- prepared for filing by JAW
12/9/2016    Review/revise/finalize Complaint, Civil Cover Sheet,        JAW Legal Servic...         2.7     810.00
             NOA, Disclosure Statement, Summons, Waiver, Notice of
             Lawsuit, and file all
12/9/2016    Conference with Attorney Walcheske regarding claims         JRD Legal Service...        0.3      75.00
12/12/2016   Complete/File Refusal to Magistrate                         JAW Legal Servic...         0.1      30.00
12/12/2016   File signed Fast Consent to Join Form                       JAW Legal Servic...         0.1      30.00

                                                                             BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
              If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                            Page 1
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                            15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                          DESCRIPTION                                     RATE              TIME BALANCE
12/13/2016   Prepare documents for service (waiver)                      JAW Legal Servic...         0.2     60.00
12/30/2016   Phone conversation with client re case status update        SSL Legal Service...        0.3     90.00
2/6/2017     Reviewed file and drafted EEOC complaint & NOA              SSL Legal Service...        1.5    450.00
2/7/2017     Filed EEOC complaint & NOA                                  SSL Legal Service...        0.2     60.00
2/21/2017    Review/respond to email from Labs re 26(f)                  JAW Legal Servic...         0.1     30.00
2/22/2017    Emails to and from Burnett re 26(f) conference              JAW Legal Servic...         0.1     30.00
2/23/2017    Begin pre-drafting 26(f) report                             JAW Legal Servic...         0.9    270.00
2/23/2017    Review/respond to email from Houlihan re conference         JAW Legal Servic...         0.1     30.00
             scheduling
2/24/2017    Review complaint to add context to draft 26(f) report;      JAW Legal Servic...         0.9    270.00
             26(f) conference with Burnett and Labs; and
             revise/quasi-finalize draft 26(f) report
2/28/2017    Revise draft 26(f) report and email to Burnett and Labs     JAW Legal Servic...         0.1     30.00
3/1/2017     Review email from Burnett approving of draft 26(f)          JAW Legal Servic...         0.1     30.00
3/1/2017     Finalize and file 26(f) report                              JAW Legal Servic...         0.2     60.00
3/1/2017     Draft email to Clerk providing contact info for telephone   JAW Legal Servic...         0.1     30.00
             conference
3/15/2017    Download/review Minute Entry and Scheduling Order           JAW Legal Servic...         0.1     30.00
3/15/2017    Emails to and from Attorney Luzi re case strategy           JAW Legal Servic...         0.2     60.00
3/15/2017    Phone conversation with client re case status and           SSL Legal Service...        0.3     90.00
             Scheduling Conference
3/15/2017    Rule 16 Conference                                          JAW Legal Servic...         0.3     90.00
3/15/2017    Review Complaint and 26(f) in advance of teleconference     JAW Legal Servic...         0.3     90.00

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Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
              If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                            Page 2
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                          DESCRIPTION                                     RATE              TIME BALANCE
3/28/2017   Review file and draft initial disclosures                    JAW Legal Servic...         0.6    180.00
3/30/2017   Draft email to Labs forwarding initial disclosures           JAW Legal Servic...         0.1     30.00
3/30/2017   Email correspondence with client re case status update       SSL Legal Service...        0.1     30.00
4/5/2017    Review case documents and draft first set of discovery       KLT Legal Servic...           1    250.00
            requests
4/6/2017    Draft first set of discovery requests                        KLT Legal Servic...         1.3    325.00
4/10/2017   Strategy conference with JAW re: discovery                   KLT Legal Servic...         0.5    125.00
4/10/2017   Attorney conference w Attorney Temeyer re discovery          JAW Legal Servic...         0.3     90.00
            and case strategy
4/12/2017   Draft and revise first set of discovery requests             KLT Legal Servic...           1    250.00
4/13/2017   Draft e-mail to JAW re: first set of discovery for review    KLT Legal Servic...         0.1     25.00
            and discussion
5/10/2017   Review/revise discovery requests                             JAW Legal Servic...         0.8    240.00
5/30/2017   Phone conversation and email correspondence with client      SSL Legal Service...        0.2     60.00
            re case status update
6/13/2017   Attorney conference w Attorney Temeyer re status of          JAW Legal Servic...         0.1     30.00
            discovery responses
6/13/2017   Phone call with JAW re: status of discovery responses        KLT Legal Servic...         0.1     25.00
6/14/2017   Review status of discovery responses; draft f/u letter to    KLT Legal Servic...         0.7    175.00
            OC re: status of discovery responses; fax; receive and
            review e-mail response from OC; respond; receive and
            review letter from OC re: draft check for client and offer
            to pay fees and discovery requests

                                                                             BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                           Page 3
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                     DATE           DUE DATE
Tim Fast
                                                                          12/7/2017            12/7/2017

                                                                               BALANCE DUE



 DATE                          DESCRIPTION                                    RATE              TIME BALANCE
6/15/2017   Attorney conference w Attorney Temeyer re Def's             JAW Legal Servic...         0.3      90.00
            discovery responses and check made out to C
6/15/2017   Conference with JAW re: Def discovery responses and         KLT Legal Servic...         0.3      75.00
            check for client's unpaid compensation
6/21/2017   Receive and review letter and enclosed discovery            KLT Legal Servic...         0.5     125.00
            responses from OC
6/22/2017   Attorney conference w Firm re case strategy                 JAW Legal Servic...         0.8     240.00
6/22/2017   Phone call with Larry Johnson re case status, strategy      JAW Legal Servic...         0.2      60.00
6/23/2017   Draft email to Labs requesting conference call to discuss   JAW Legal Servic...         0.1      30.00
            case status and issues
6/23/2017   Emails to and from Labs re scheduling of teleconference     JAW Legal Servic...         0.1      30.00
6/26/2017   Conference with Attorney Walcheske regarding                JRD Legal Service...        0.2      50.00
            defendant's counsel's overtime calculations
6/26/2017   Review discovery responses from Defendant, outline          JAW Legal Servic...         3.6    1,080.00
            deficiencies, and run calculations and compare with
            amounts paid to C via Schenck audit
6/26/2017   Conference with JAW re: calculating regular rate of pay     KLT Legal Servic...         0.4     100.00
            with on-call premiums
6/27/2017   Review personnel file as produced                           JAW Legal Servic...         0.4     120.00
6/28/2017   Conference with Attorney Walcheske regarding case           JRD Legal Service...        0.4     100.00
            strategy




                                                                            BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                           Page 4
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                     DATE          DUE DATE
Tim Fast
                                                                          12/7/2017           12/7/2017

                                                                               BALANCE DUE



 DATE                         DESCRIPTION                                     RATE             TIME BALANCE
6/28/2017   Continue conducting calculations, hold teleconference       JAW Legal Servic...          2    600.00
            with Burnett, hold attorney conferences with Attorneys
            Dill and Temeyer re strategy, draft discovery dispute
            letter to Burnett, and draft second set of discovery to
            Defendant
6/28/2017   Conference with JAW re: outstanding issues re: damages      KLT Legal Servic...        0.4    100.00
            calculations and Defendant discovery
            responses/production
7/2/2017    Review/edit proposed stip to stay                           JAW Legal Servic...        0.2     60.00
7/5/2017    Draft stip to stay and email to Burnett forwarding same     JAW Legal Servic...        0.5    150.00
7/6/2017    Draft/revise/finalize discovery dispute letter and second   JAW Legal Servic...        0.8    240.00
            set of discovery and email both to Burnett
7/6/2017    Review email regarding and attached draft stipulation and   JAW Legal Servic...        0.1     30.00
            draft responsive email approving draft
7/7/2017    Review/respond to Burnett's email refusing to provide       JAW Legal Servic...        0.2     60.00
            discovery
7/7/2017    Review/respond to email from Burnett re discovery           JAW Legal Servic...        0.1     30.00
            dispute letter
7/10/2017   Review email from Labs re Schenk scheduling                 JAW Legal Servic...        0.1     30.00
7/10/2017   Review/respond to email from Burnett re call with Schenk    JAW Legal Servic...        0.1     30.00
7/12/2017   Attorney conference w Attorney Temeyer re our               JAW Legal Servic...        0.2     60.00
            discovery responses



                                                                            BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                           Page 5
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                       DATE           DUE DATE
Tim Fast
                                                                            12/7/2017            12/7/2017

                                                                                 BALANCE DUE



 DATE                          DESCRIPTION                                      RATE              TIME BALANCE
7/12/2017   Draft answers and objections to Defendant's discovery         KLT Legal Servic...           1    250.00
            requests; discuss with JAW
7/13/2017   Revise and finalize discovery responses; draft cover letter   KLT Legal Servic...         0.4    100.00
            and fax to OC
7/13/2017   Revise discovery responses                                    JAW Legal Servic...         0.3     90.00
7/14/2017   Review/respond to email from Labs re scheduling               JAW Legal Servic...         0.1     30.00
            Schenck call
7/17/2017   Prepare e-mail correspondence to Attorney Walcheske           JRD Legal Service...        0.1     25.00
            regarding defense strategy and checks
7/17/2017   Receive and review letter from OC re: incomplete              KLT Legal Servic...         0.2     50.00
            discovery responses
7/18/2017   Review letter from Burnett re our discovery responses         JAW Legal Servic...         0.1     30.00
7/20/2017   Review my OT wage calculations and disseminate to firm        JAW Legal Servic...         0.3     90.00
            for input
7/20/2017   Attorney conferences w Attorneys Temeyer and Dill re          JAW Legal Servic...         0.9    270.00
            calculations, strategy
7/20/2017   Phone call with Labs and Schenk rep                           JAW Legal Servic...         0.2     60.00
7/20/2017   Review overtime calculations and discuss with JAW;            KLT Legal Servic...         0.5    125.00
            strategy conference re: settlement/next steps
7/20/2017   Review e-mail correspondence from Attorney Walcheske          JRD Legal Service...        0.4    100.00
            regarding damages calculation; conference with Attorney
            Walcheske regarding same
7/25/2017   Draft letter outlining resolution proposal                    JAW Legal Servic...         1.2    360.00

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Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                           Page 6
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                         DESCRIPTION                                      RATE              TIME BALANCE
7/25/2017   Finalize letter and draft email to Labs forwarding the       JAW Legal Servic...         0.2      60.00
            same
8/4/2017    Download all of Def's Motion filings and Declarations        JAW Legal Servic...         0.3      90.00
8/4/2017    Attorney conference w Attorney Temeyer re motions filed      JAW Legal Servic...         0.3      90.00
            by Defendant
8/4/2017    Attorney conference w Attorney Dill re combining             JAW Legal Servic...         0.2      60.00
            response to Defendant's motions
8/4/2017    Draft email to Burnett and Labs re response timing           JAW Legal Servic...         0.1      30.00
8/4/2017    Draft and file 7(h) Motion                                   JAW Legal Servic...         0.9     270.00
8/7/2017    Conference with Attorney Walcheske regarding case            JRD Legal Service...        0.2      50.00
            strategy
8/14/2017   Reviewed Defendant's recent filings (ECF Nos. 16 to 25)      SSL Legal Service...        4.5    1,350.00
            and took notes; reviewed written discovery requests and
            responses, including responsive documentation pertaining
            to Plaintiff and the class, and took notes
8/15/2017   Conducted detailed calculations regarding damages,           SSL Legal Service...        2.7     810.00
            specifically Plaintiff's OT owed, and compared to
            Defendant's (Schenk's) calculations; determined that
            Defendant's (Schenk's) calculations were done incorrectly
8/15/2017   Case law research (WI, Seventh Circuit, and FLSA             SSL Legal Service...        1.4     420.00
            administrative code sections) re damages (remuneration
            included in regular rate, determining OT rate from regular
            rate)

                                                                             BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                          Page 7
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                          DESCRIPTION                                     RATE              TIME BALANCE
8/16/2017   Attorney conference w Attorney Luzi re regular rate          JAW Legal Servic...         0.3      90.00
            calculations, potential arguments, regulatory provisions
8/16/2017   Review brief in support of motion to dismiss                 JAW Legal Servic...         0.2      60.00
8/16/2017   Teleconference with Attorney Walcheske regarding             JRD Legal Service...        0.2      50.00
            calculation of overtime
8/16/2017   Research regular rate case law                               JAW Legal Servic...         1.1     330.00
8/16/2017   Email correspondence with client re Defendant's recent       SSL Legal Service...        0.2      60.00
            filings and our research in investigation/response to same
8/17/2017   Review Def's filed declarations in support of motions        JAW Legal Servic...         0.3      90.00
8/17/2017   Attorney conference w Attorney Luzi re declarations and      JAW Legal Servic...         0.3      90.00
            motion strategy
8/17/2017   Begin outlining arguments for brief in opposition            JAW Legal Servic...         0.6     180.00
8/17/2017   Conference call with client re Defendant's recent filings    SSL Legal Service...        1.3     390.00
            and our research in investigation/response to same and
            case status moving forward
8/18/2017   Work on fact section of response brief                       JAW Legal Servic...         3.6    1,080.00
8/21/2017   Strategy conference regarding discovery issues and           KLT Legal Servic...         1.5      375.00
            responding to motion to dismiss/smj motion
8/21/2017   Research mootness, particularly in context of standards      JAW Legal Servic...         6.9    2,070.00
            for mootness and mootness in context of tendered
            check/settlement offer; briefly revise response to motions
            based on cases reviewed



                                                                             BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                          Page 8
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                     DATE           DUE DATE
Tim Fast
                                                                          12/7/2017            12/7/2017

                                                                               BALANCE DUE



 DATE                         DESCRIPTION                                     RATE              TIME BALANCE
8/21/2017   Conference with Attorneys Walcheske, Luzi, and              JRD Legal Service...        1.5     375.00
            Temeyer regarding case strategy
8/21/2017   Firm conference re Def's motions, response strategy,        JAW Legal Servic...         1.5     450.00
            strategy re offensive motions, timing of filings
8/21/2017   Research limiting communications with putative class and    JAW Legal Servic...         2.1     630.00
            begin drafting 7(h) for continuation of stay and limiting
            communications
8/21/2017   Inter-office strategy meeting re recent filed motions and   SSL Legal Service...        1.5     450.00
            case strategy
8/21/2017   Phone conversation with client re case status update        SSL Legal Service...        0.3      90.00
8/22/2017   Draft/review/revise declarations of Temeyer and             JAW Legal Servic...         2.2     660.00
            Walcheske; forward Temeyer declaration to Attorney
            Temeyer for review/approval; file declarations and
            exhibits
8/22/2017   Reviewed and revised 7(h) motion; returned to JAW to        SSL Legal Service...        0.5     150.00
            finalize and file
8/22/2017   Continue working on response brief                          JAW Legal Servic...         1.6     480.00
8/22/2017   Review and revise Local Rule 7(h) motion to continue        JRD Legal Service...        0.3      75.00
            stay and prohibit communications
8/22/2017   Draft/review/revise 7(h) for continuation of stay and       JAW Legal Servic...         2.1     630.00
            limiting communications
8/24/2017   Continue working on response brief                          JAW Legal Servic...         6.2    1,860.00
8/25/2017   Continue working on response brief                          JAW Legal Servic...         5.9    1,770.00

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Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                          Page 9
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                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
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Invoice
BILL TO                                                                    DATE           DUE DATE
Tim Fast
                                                                         12/7/2017            12/7/2017

                                                                              BALANCE DUE



 DATE                         DESCRIPTION                                    RATE              TIME BALANCE
8/28/2017   Review Defendant's response to Local Rule 7(h) motion;     JRD Legal Service...        1.5     375.00
            multiple teleconferences with Attorney Walcheske and
            Attorney Luzi regarding same
8/28/2017   Draft/review/revise brief in opposition                    JAW Legal Servic...         9.7    2,910.00
8/29/2017   Review Court's Order on 7h                                 JAW Legal Servic...         0.1       30.00
8/29/2017   Reviewed and edited PLAINTIFFS BRIEF IN                    SSL Legal Service...        2.2      660.00
            OPPOSITION TO DEFENDANTS MOTIONS TO LIFT
            THE TEMPORARY STAY OF PROCEEDINGS,
            DISMISS ON MOOTNESS GROUNDS,
            AND FOR SUMMARY JUDGMENT; returned to JAW
            to finalize and file
8/29/2017   Review/revise response brief                               JAW Legal Servic...         0.8      240.00
8/30/2017   Review brief in opposition to motions                      JRD Legal Service...        1.3      325.00
8/31/2017   Revise response brief                                      JAW Legal Servic...         0.5      150.00
9/1/2017    Draft/review/revise/finalize response brief and            JAW Legal Servic...         5.4    1,620.00
            declarations; file all
9/15/2017   Review Def's Reply Brief and declarations; research case   JAW Legal Servic...           2     600.00
            law; prepare issues for surreply
9/18/2017   Review reply brief; review and revise sur-reply brief      JRD Legal Service...        0.9     225.00
9/18/2017   Attorney conference with Attorney Temeyer re Reply and     JAW Legal Servic...         0.2      60.00
            possible Surreply
9/18/2017   Continue working on, finalize, and file surreply           JAW Legal Servic...         4.2    1,260.00
9/19/2017   Review Def's response to motion for surreply               JAW Legal Servic...         0.1       30.00

                                                                           BALANCE DUE:

Please charge $_____________ to my ____ Visa, ___ Mastercard, ___ Discover, or ___ American Express.

Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                          Page 10
            Case 1:16-cv-01637-WCG Filed 07/11/18 Page 13 of 15 Document 52-2                             Pl 0010
                            15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
                                            www.walcheskeluzi.com
Invoice
BILL TO                                                                      DATE           DUE DATE
Tim Fast
                                                                           12/7/2017            12/7/2017

                                                                                BALANCE DUE



 DATE                          DESCRIPTION                                     RATE              TIME BALANCE
9/19/2017    Attorney conference with Attorneys Dill and Luzi re Def's   JAW Legal Servic...         0.1     30.00
             response to motion for surreply
11/7/2017    Review Court Order                                          JAW Legal Servic...         0.2     60.00
11/7/2017    Conference with Attorney Luzi re Order, implications,       JAW Legal Servic...         0.5    150.00
             and next steps
11/7/2017    Status Update conversation/meeting with JAW re Court's      SSL Legal Service...        0.5    150.00
             ruling
11/7/2017    Review Order and Decision on pending motions                KLT Legal Servic...         0.3     75.00
11/9/2017    Phone conversation with client re Court decision and case   SSL Legal Service...        0.8    240.00
             strategy moving forward
11/9/2017    Conference with Attorneys Luzi and Temeyer re Order,        JAW Legal Servic...         0.3     90.00
             case strategy, and next steps
11/9/2017    Strategy conference re: decision/order and next steps       KLT Legal Servic...         0.3     75.00
11/15/2017   Review Court's Order on Motions                             JAW Legal Servic...         0.2     60.00
11/15/2017   Draft email to Burnett and Labs re scheduling call to       JAW Legal Servic...         0.1     30.00
             discuss status and next steps
11/16/2017   Review/respond to email from Houlihan scheduling call       JAW Legal Servic...         0.1     30.00
             with Burnett
11/27/2017   Phone conference with Burnett re case status and next       JAW Legal Servic...         0.2     60.00
             steps
11/27/2017   Conference with Attorney Temeyer re case status and next    JAW Legal Servic...         0.4    120.00
             steps



                                                                             BALANCE DUE:

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                                           Page 11
             Case 1:16-cv-01637-WCG Filed 07/11/18 Page 14 of 15 Document 52-2                              Pl 0011
                           15850 West Bluemound Road, Suite 304, Brookfield, WI 53005
                                           www.walcheskeluzi.com
Invoice
BILL TO                                                                  DATE           DUE DATE
Tim Fast
                                                                       12/7/2017           12/7/2017

                                                                            BALANCE DUE
                                                                               $40,327.04

 DATE                         DESCRIPTION                                 RATE              TIME BALANCE
11/27/2017 Discuss status of case and strategy conference re: moving KLT Legal Servic...        0.4    100.00
           for conditional cert on liquidated damages claims
11/29/2017 Review email and attached letter from Burnett             JAW Legal Servic...        0.1     30.00
                                                                     Reimb Group
12/9/2016 Federal Court Filing Fee                                                                     400.00
7/13/2017 Postage                                                                                        1.82
8/15/2017 Postage                                                                                        2.87
           Total Reimbursable Expenses                                                                 404.69




                                                                         BALANCE DUE: $40,327.04

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Card #_____________________________, expires _____/_____, CVV _______, Zip Code ____________
             If paying by check, pleae make check out to Walcheske & Luzi, LLC. Thanks!
 Signature ________________________________________________
                                          Page 12
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